Case 25-11005-MEH         Doc 26-3 Filed 05/22/25 Entered 05/22/25 11:17:40             Desc
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                                                           UNITED STATES
                                                         BANKRUPTCY COURT
                                                       DISTRICT OF NEW JERSEY
 IN RE:
                                                                  Chapter 11
 6 SUNSET LANE, LLC,
                                                             Case No. 25-11005-MEH
               Debtor-in-Possession.
                                                     Judge: Hon. Mark E. Hall, U.S.B.J.

                                                  Hearing Date: June 16, 2025 at 10:00a.m.


             ORDER EXPUNGING CLAIMS PURSUANT TO 11 U.S.C. §502


       The relief set forth on the following page numbered two (2) is hereby ORDERED.
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Page:        2
Debtor:     6 Sunset Lane, LLC
Case No:    25-11005
Caption:    ORDER EXPUNGING CLAIMS PURSUANT TO 11 U.S.C. §502
_______________________________________________________________________________
      This matter having been brought before the Court upon the Motion of the Debtor, 6 Sunset

Lane, LLC (“Debtor”), by and through Debtor’s counsel, The Kelly Firm, P.C., seeking an Order

Expunging Claim 3 of Glenn Del Russo (the “ Del Russo Claim”) filed against the estate pursuant

to 11 U.S.C. §502; and good and sufficient notice having been given to all interested parties; and

the Court having reviewed the papers submitted in support of said motion and those submitted in

opposition, if any; and for good cause shown; it is hereby

       ORDERED that the Debtor’s Motion is granted; and it is further

       ORDERED that the Del Russo Claim is hereby expunged and stricken.
